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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

GEAROLD R. STINE,

Plaintiff,

v.                                                   Case No. 18-cv-2202 JPG

HOMAN TRUCKING, LLC, et al.,

Defendants.


                                          JUDGMENT

        The Court having been advised by counsel for the parties that the claims in the above

action have been settled or voluntarily dismissed;

        IT IS HEREBY ORDERED AND ADJUDGED that this case is dismissed with prejudice

and without costs.


Dated: February 18, 2020             MARGARET M. ROBERTIE, Clerk of Court

                                     s/ Tina Gray, Deputy Clerk



Approved:      s/J. Phil Gilbert
               J. PHIL GILBERT
               DISTRICT JUDGE
